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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                         ____________


No. 17-7085                                                 September Term, 2017
                                                                       1:16-cv-00394-CRC
                                                   Filed On: June 21, 2018 [1737130]
CD International Enterprises, Inc,

               Appellant

       v.

Rockwell Capital Partners, Inc, et al.,

               Appellees

                                         MANDATE

      In accordance with the order of April 11, 2018, and pursuant to Federal Rule of
Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  BY:     /s/
                                                          Ken R. Meadows
                                                          Deputy Clerk




Link to the order filed April 11, 2018
